Case 17-21745-VFP           Doc 90    Filed 01/30/18 Entered 01/30/18 09:23:19             Desc Main
                                      Document     Page 1 of 1


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

  WILLIAM H. OLIVER, JR.
  2240 Highway 33 - Suite 112
  Neptune, NJ 07753
  732-988-1500
  WO-7129
  Attorney for Debtor
 In Re:                                                Case No.:             ________________
                                                                                 17-21745
  Martin Edward Olivo                                  Judge:                      VFP
                                                                             ________________

                                                       Chapter:                     13
                                                                             ________________



                          APPLICATION FOR EXTENSION OR
                   EARLY TERMINATION OF LOSS MITIGATION PERIOD

The undersigned is the _________________________________________
                                  attorney for the Debtor        in this matter. On
 November 15, 2017 a Loss Mitigation Order was entered concerning:
____________________,

Property:                            151 Route 46, Netcong, NJ
                   ___________________________________________________________

Creditor:          Rushmore
                   ___________________________________________________________


                                                                                    January 31, 2018
Pursuant to the Loss Mitigation Order, the Loss Mitigation Period will expire on ____________________.

For the reason(s) set forth below, the _______________________
                                         Debtor/Debtor Attorney hereby requests:

             An extension of the Loss Mitigation Period to _____________________
                                                                 April 30, 2018   .

             Early termination of the Loss Mitigation Period, effective _____________________ .

Set forth the applicant’s reason(s) for the above request:
All documents have been submitted to the Bank by the Debtor through the portal, however,
since the loss mitigation order has expired they are seeking an extension of the Order.




Dated: ___________________
       January 30, 2018                                _________________________________
                                                       /s/ William H. Oliver, Jr.
                                                       Applicant’s signature

                                                                                         Revised 9/19/13
